             Case 1:20-cv-00112-GSK Document 9                Filed 06/03/20      Page 1 of 4




 1           IN THE UNITED STATES DISTRICT COURT OF INTERNATIONAL TRADE

 2
      SEA SHEPHERD NEW ZEALAND, et al.
 3
 4                           Plaintiffs,                 Civil Action No. 20-112

 5    v.                                                 PROOF OF SERVICE

 6    WILBUR ROSS, et al.,
 7
                     Defendants.
 8
 9          I, Catherine Pruett, declare as follows:
10          1.      I am an attorney of record for Sea Shepherd New Zealand and Sea Shepherd
11   Conservation Society (hereinafter “Plaintiffs) in this matter.
12          2.      On May 29, 2020, I caused to be served on Defendants Wilbur Ross, the United
13   States Department of Commerce (Commerce), Chris Oliver, the National Marine Fisheries Service
14   (NMFS), Steven Mnuchin, the United States Department of the Treasury (Treasury), Chad Wolf,
15   the United States Department of Homeland Security (DHS), and Steven Tosini (Attorney-In-
16   Charge, United States Department of Justice) true and correct copies of the following documents in
17   the above-captioned case: (1) the Complaint; (2) Exhibit A to the Complaint; (3) the Summons; (4)
18   the Corporate Disclosure Statement for Sea Shepherd New Zealand; (5) the Corporate Disclosure
19   Statement for Sea Shepherd Conservation Society; and (6) the case Information Statement.
20          3.      To effectuate service upon all Defendants, I retained the services of Same Day
21   Process Service (SDPS).
22          4.      On May 26, 2020, SDPS attempted in person service of the documents identified in
23   ¶ 2 upon Wilbur Ross at the following address:
24                  The Honorable Wilbur L. Ross, Jr.
                    Secretary of Commerce
25                  United States Department of Commerce

                                                                        SEA SHEPHERD LEGAL
                                                                        2226 Eastlake Ave. East, No. 108
     PROOF OF SERVICE                                  -1-              Seattle, Washington 98102
                                                                        (206) 504-1600
              Case 1:20-cv-00112-GSK Document 9                Filed 06/03/20       Page 2 of 4




 1                   1401 Constitution Avenue
                     Washington, DC 20230
 2
     See Affidavit of Process Server, submitted herewith as Exhibit A.
 3
             5.      Finding the Commerce office closed to the public due to COVID-19, SDPS served
 4
     Wilbur Ross at the same address via certified mail, return receipt requested. See Exhibit A.
 5
             6.      On May 26, 2020, SDPS attempted in person service of the documents identified in
 6
     ¶ 2 upon Commerce at the following address:
 7
                     United States Department of Commerce
 8                   1401 Constitution Avenue
 9                   Washington, DC 20230

10   See Affidavit of Process Server, submitted herewith as Exhibit B.

11           7.      Finding the Commerce office closed to the public due to COVID-19, SDPS served

12   Commerce at the same address via certified mail, return receipt requested. See Exhibit B.

13           8.      On May 26, 2020, SDPS attempted in person service of the documents identified in

14   ¶ 2 upon Chris Oliver at the following address:

15                   Assistant Administrator Chris W. Oliver
                     NOAA Fisheries
16                   1315 East-West Highway
                     Silver Spring, MD 20910
17
18   See Affidavit of Process Server, submitted herewith as Exhibit C.

19           9.      Finding the NMFS office closed to the public due to COVID-19, SDPS served Chris

20   Oliver at the same address via certified mail, return receipt requested. See Exhibit C.

21           10.     On May 26, 2020, SDPS attempted in person service of the documents identified in

22   ¶ 2 upon NMFS at the following address:

23                   NOAA Fisheries
                     1315 East-West Highway
24                   Silver Spring, MD 20910

25


                                                                          SEA SHEPHERD LEGAL
                                                                          2226 Eastlake Ave. East, No. 108
      PROOF OF SERVICE                                 -2-                Seattle, Washington 98102
                                                                          (206) 504-1600
              Case 1:20-cv-00112-GSK Document 9               Filed 06/03/20        Page 3 of 4




 1   See Affidavit of Process Server, submitted herewith as Exhibit D.

 2           11.     Finding the NMFS office closed to the public due to COVID-19, SDPS served

 3   NMFS at the same address via certified mail, return receipt requested. See Exhibit D.

 4           12.     On May 26, 2020, SDPS attempted in person service of the documents identified in

 5   ¶ 2 upon Steven Mnuchin at the following address:

 6                   The Honorable Steven T. Mnuchin
                     Secretary of the Treasury
 7                   United States Department of Treasury
                     1500 Pennsylvania Avenue, NW
 8                   Washington, DC 20220
 9
     See Affidavit of Process Server, submitted herewith as Exhibit E.
10
             13.     Finding the Treasury office closed to the public due to COVID-19, SDPS served
11
     Steven Mnuchin at the same address via certified mail, return receipt requested. See Exhibit E.
12
             14.     On May 26, 2020, SDPS attempted in person service of the documents identified in
13
     ¶ 2 upon Treasury at the following address:
14
                     United States Department of Treasury
15                   1500 Pennsylvania Avenue, NW
                     Washington, DC 20220
16
     See Affidavit of Process Server, submitted herewith as Exhibit F.
17
             15.     Finding the Treasury office closed to the public due to COVID-19, SDPS served
18
     Treasury at the same address via certified mail, return receipt requested. See Exhibit F.
19
             16.     On May 26, 2020, SDPS attempted in person service of the documents identified in
20
     ¶ 2 upon Chad Wolf at the following address:
21
                     The Honorable Chad Wolf
22
                     Secretary of Homeland Security
23                   United States Department of Homeland Security
                     245 Murray Lane, SW
24                   Washington, DC 20528

25   See Affidavit of Process Server, submitted herewith as Exhibit G.

                                                                          SEA SHEPHERD LEGAL
                                                                          2226 Eastlake Ave. East, No. 108
      PROOF OF SERVICE                                 -3-                Seattle, Washington 98102
                                                                          (206) 504-1600
              Case 1:20-cv-00112-GSK Document 9               Filed 06/03/20        Page 4 of 4




 1           17.     Finding the DHS Office closed to the public due to COVID-19, SDPS served Chad

 2   Wolf at the same address via certified mail, return receipt requested. See Exhibit G.

 3           18.     On May 26, 2020, SDPS attempted in person service of the documents identified in

 4   ¶ 2 upon DHS at the following address:

 5                   United States Department of Homeland Security
                     245 Murray Lane, SW
 6                   Washington, DC 20528
 7
     See Affidavit of Process Server, submitted herewith as Exhibit H.
 8           19.     Finding the DHS office closed to the public due to COVID-19, SDPS served DHS
 9   at the same address via certified mail, return receipt requested. See Exhibit H.
10           20.     Pursuant to Court of International Trade Rule 4(h), on May 29, 2020, SDPS served
11   the Attorney-In-Charge by sending one copy of the documents identified in ¶ 2 via certified mail,
12   return receipt requested to:
13                   Stephen C. Tosini
14                   Senior Trial Counsel
                     Department of Justice Civil Division
15                   Commercial Litigation Branch
                     P.O. Box 480
16                   Ben Franklin Station
                     Washington, D.C. 20044
17
18   See Affidavit of Process Server submitted herewith as Exhibit I.

19           21.     Attached as Exhibit J are copies of the United States Postal Service Certified Mail

20   Receipts evidencing completed service of process on all Defendants.

21           I declare under penalty of perjury that the foregoing is true and correct.

22           Executed this 3rd day of June 2020.

23
                                                         _______________________
24

25


                                                                          SEA SHEPHERD LEGAL
                                                                          2226 Eastlake Ave. East, No. 108
      PROOF OF SERVICE                                 -4-                Seattle, Washington 98102
                                                                          (206) 504-1600
